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 7                                     UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF PUERTO RICO
 8

 9   SKYTEC, INC.,
                                                                No. 3:15-CV-02104-BJM
10                                              Plaintiff,
                  v.
11                                                              The Honorable Bruce J. McGiverin
     LOGISTIC SYSTEMS, INC.,
12
                                             Defendant.
13

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15                JOINT INFORMATIVE MOTION IN COMPLIANCE WITH COURT’S ORDER
                                     DATED JANUARY 29, 2018
16
                  TO THE HONORABLE COURT:
17
                  NOW COME, Plaintiff Skytec, Inc. (hereinafter, “Skytec”) and Defendant Logistic
18

19   Systems, Inc. (hereinafter, “LogiSYS”) through their undersigned attorneys, and respectfully

20   inform as follows:

21                1.       Skytec filed an interlocutory appeal to the U.S. Court of Appeals for the First
22   Circuit on June 25, 2017.
23
                  2.       On September 12, 2017, the Court of Appeals issued an Order to Show Cause to
24
     Skytec to move for voluntary dismissal of the appeal pursuant to Fed. R. App. P. 42(b), or to
25

26

     JOINT INFORMATIVE MOTION IN COMPLIANCE WITH                                  FOSTER PEPPER PLLC
     COURT’S ORDER DATED JANUARY 29, 2018- 1                                    1111 THIRD AVENUE, SUITE 3000

     Case No. 3:15-CV-02104-BJM                                               SEATTLE, WASHINGTON 98101-3296
                                                                            PHONE (206) 447-4400 FAX (206) 447-9700

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 1   show cause, in writing filed by September 27, 2017, why the appeal should not be dismissed for

 2   lack of jurisdiction.
 3
                  3.       At the same time, the First Circuit included the case in its Civil Appeals
 4
     Management Program and issued a Notice of Mandatory Pre-Argument Settlement Conference
 5
     to be held in San Juan on September 20, 2017.
 6
                  4.       Due to the passage of Hurricanes Irma and Maria through Puerto Rico during the
 7

 8   month of September, the Court’s Notices Regarding Deadlines in Puerto Rico Cases

 9   automatically extended Skytec’s term to voluntarily dismiss or to show cause until November 17,
10   2017.
11
                  5.       The CAMP Conference was rescheduled to take place and held on November 28,
12
     2017.
13
                  6.       A second settlement conference was held on January 12, 2018. At the conclusion
14

15   of that conference, the parties agreed that the Court of Appeals should rule on the matter raised

16   by its Order to Show Cause and that, if the appeal is dismissed for lack of appellate jurisdiction,

17   the parties were willing to continue settlement conversations with the assistance of CAMP
18   Settlement Counsel while the proceedings in this case are pending.
19
                  7.       The jurisdictional matter is submitted for a ruling by the Court of Appeals.
20
                  WHEREFORE, it is respectfully requested from this Honorable Court that it take note of
21
     these facts and deem its January 29, 2018 Order complied.
22

23                RESPECTFULLY SUBMITTED.

24                In San Juan, Puerto Rico, on February 5, 2018.

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     JOINT INFORMATIVE MOTION IN COMPLIANCE WITH                                     FOSTER PEPPER PLLC
     COURT’S ORDER DATED JANUARY 29, 2018- 2                                       1111 THIRD AVENUE, SUITE 3000

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                  Case 3:15-cv-02104-BJM Document 91 Filed 02/05/18 Page 3 of 4



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     JOINT INFORMATIVE MOTION IN COMPLIANCE WITH                     FOSTER PEPPER PLLC
     COURT’S ORDER DATED JANUARY 29, 2018- 3                       1111 THIRD AVENUE, SUITE 3000

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                    Case 3:15-cv-02104-BJM Document 91 Filed 02/05/18 Page 4 of 4



 1                                        CERTIFICATE OF SERVICE
 2                The undersigned hereby certifies that on February 5, 2018 the foregoing document was

 3   electronically filed with the Clerk of the Court using the CM/ECF System which will send
 4   notification of such filing to all counsel of record.
 5
                  Dated this 5th day of February, 2018 in Seattle, Washington.
 6

 7                                                           s/ Samuel T. Bull
                                                             Samuel T. Bull
 8                                                           Washington State Bar No. 34387
 9                                                           Pro Hac Vice Counsel for Logistic Systems,
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     JOINT INFORMATIVE MOTION IN COMPLIANCE WITH                                   FOSTER PEPPER PLLC
     COURT’S ORDER DATED JANUARY 29, 2018- 4                                     1111 THIRD AVENUE, SUITE 3000

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